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UNITED sTATEs DISTRICT CoURT - D.c.
wEsTERN DISTRICT oF TENNESSEE 05 JU `
wEsTERN DIVISION L '2 PH |2= 35
ALBERT RHEA and
GARY ScHooNoVER,
Plaintiffs,

V. Civil Action No. 04-2254 MIV
DOLLAR TREE STORES, INC.,
DONNA CARLO, JIM STEPHENS,
and STEVE MCDONIEL

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Defendants.

 

ORDER GRANTING DEFENDANTS’ UNOPPOSED MOTION AND MEMORANDUM
TO FILE MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
IN EXCESS OF PAGE LIMITATION

 

THIS MATTER is before the Court on the Defendants’ Unopposed Motion to File
Memorandum in Support of Motion for Surnmary Judgment in Excess of Page Limitation.

It is hereby OR.DERED, ADJUDGED and DECREED, upon good cause shown, that
Defendants shall be permitted to exceed the page limitation for their Memorandum in Support of

Motion for Summary Judgment.

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Th!s document entered on the docket sheet |r\ compfiance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:04-CV-02254 Was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

